B18 (Official Form 18) (12/07)

                                     United States Bankruptcy Court
                                            Eastern District of Michigan
                                                 Case No. 15−32061−dof
                                                       Chapter 7

In re Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   John Paul Van De Water Sr.
   5000 Lake Pleaseant Road
   North Branch, MI 48461
Social Security / Individual Taxpayer ID No.:
   xxx−xx−6155
Employer Tax ID / Other nos.:



                                           DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).



                                                            BY THE COURT

Dated: 11/17/15                                             Daniel S. Opperman.Flint
                                                            United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




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B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.




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                                               United States Bankruptcy Court
                                               Eastern District of Michigan
In re:                                                                                                     Case No. 15-32061-dof
John Paul Van De Water, Sr.                                                                                Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0645-4                  User: mtren                        Page 1 of 1                          Date Rcvd: Nov 17, 2015
                                      Form ID: b18                       Total Noticed: 20


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 19, 2015.
db             +John Paul Van De Water, Sr.,    5000 Lake Pleaseant Road,    North Branch, MI 48461-7908
23715941       +3rd Judicial Circuit Court,    2 Woodward Ave,    Case No:15-008351-NI,   Detroit, MI 48226-3437
23715943       +American Acceptance LLC,    3001 S. Jamaica Ct.,    Aurora, CO 80014-2656
23715945       +Charisma Puryear,    c/o Douglas Dempsey, Esq.,    1000 Town Center Road, Suite 550,
                 Southfield, MI 48075-1201
23715949        DTE Energy,   PO Box 630795,    Cincinnati, OH 45263-0795
23715952        Pecos Co State Bank,    501 W Dickinson Blvd,    Fort Stockton, TX 79735
23715954        Sun Loan,   1020 N. Kingsloan, Suite F,    Cape Girardeau, MO 63701
23715955       +Szuba & Associates, PLLC,    40600 Ann Arbor Road, Suite 200,    Plymouth, MI 48170-4675
23715957       +Verichek,   777 Chestnut Street,    Abilene, TX 79602-2618
23715958       +Virtuoso Sourcing Group,    4500 E. Cherry Creek South Dr.,    Denver, CO 80246-1531

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
23715942       +EDI: AAEO.COM Nov 17 2015 22:43:00      Aaron’s Rental,    4035 E. Court,    Burton, MI 48509-1781
23715944       +E-mail/Text: catherineh@berlinwheeler.com Nov 17 2015 22:53:57       Berlin Wheeler, Inc.,
                 2942A SW Wanamaker Drive Suite 200,    Topeka, KS 66614-4494
23715946       +E-mail/Text: bankruptcy_notices@cmsenergy.com Nov 17 2015 22:54:14        Consumers Energy,
                 Bankruptcy Dept,    3201 E. Court Street,    Flint, MI 48506-4022
23715947       +EDI: CMIGROUP.COM Nov 17 2015 22:43:00       Credit Management LP,   4200 International Parkway,
                 Carrollton, TX 75007-1912
23715948        EDI: CREDPROT.COM Nov 17 2015 22:43:00       Credit Protection Assoc.,    PO Box 9037,
                 Addison, TX 75001-9037
23715950       +E-mail/Text: bknotice@erccollections.com Nov 17 2015 22:54:00       Enhanced Recovery Corporation,
                 8014 Bayberry Road,    Jacksonville, FL 32256-7412
23715951        EDI: IIC9.COM Nov 17 2015 22:43:00      IC Systems Collections,    P.O. Box 64378,
                 Saint Paul, MN 55164-0378
23715940        EDI: IRS.COM Nov 17 2015 22:43:00      INTERNAL REVENUE SERVICE,    P.O. Box 7346,
                 Philadelphia, PA 19101-7346
23715939       +E-mail/Text: MarcsBankruptcyUnit@michigan.gov Nov 17 2015 22:55:07
                 Michigan Department of Treasury,    Collection/Bankruptcy Unit,    POB 30168,
                 Lansing, MI 48909-7668
23715953        EDI: SECFIN.COM Nov 17 2015 22:43:00       Security Finance,   PO Drawer 811,
                 Spartanburg, SC 29304
                                                                                               TOTAL: 10

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
23715956       ##+Trident Asset Management,   5755 N. Point Parkway,   Suite 12,                      Alpharetta, GA 30022-1136
                                                                                                                 TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 19, 2015                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 17, 2015 at the address(es) listed below:
              David W. Brown   on behalf of Debtor John Paul Van De Water, Sr. davidbrownlaw@live.com,
               jill_710@live.com
              Samuel D. Sweet    ssweet@trusteesweet.us, jwill@trusteesweet.us;ss125@trustesolutions.net
                                                                                            TOTAL: 2




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